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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE


ANDRE C. BISASOR, et al.,                   )
                                            )
       Plaintiffs                           )
                                            )
v.                                          )     1:24-cv-00360-NT-JCN
                                            )
NEW HAMPSHIRE JUDICIAL                      )
BRANCH, et al.,                             )
                                            )
       Defendants                           )

                          ORDER REGARDING FILING FEE

       Plaintiffs have filed a complaint in this Court. A review of the docket reveals that

Plaintiffs have neither paid the $405.00 filing fee nor filed an application to proceed

without prepayment of fees and costs. The docket reflects that form applications to proceed

without prepayment of fees were forwarded to Plaintiffs on December 4, 2024.

       Plaintiffs are hereby ORDERED to file an Application to Proceed Without

Prepayment of Fees and Costs or pay the filing fee no later than February 4, 2025. If

Plaintiffs fail to pay the filing fee or file a completed Application on or before February 4,

2025, the Court could dismiss the matter.

                                                  /s/ John C. Nivison
                                                  U.S. Magistrate Judge

Dated this 14th day of January, 2025.
